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  13 Proposed Class Counsel
  14 [Additional Counsel on Signature Page]
  15
                                  UNITED STATES DISTRICT COURT
  16
                                CENTRAL DISTRICT OF CALIFORNIA
  17
  18
                                                         Case No. 2:20-cv-06244-DMG-KS
  19 STEVEN VANCE, et al., on behalf of
     themselves and all others similarly                 CLASS ACTION
  20 situated,
                                                         SECOND STIPULATION TO
  21                                                     EXTEND TIME TO RESPOND TO
                 Plaintiffs,
                                                         INITIAL COMPLAINT
  22
            v.                                           [Proposed Order Submitted
  23                                                     Concurrently Herewith]
  24 FACEFIRST, INC.,                                    Complaint Filed: July 14, 2020
                                                         Trial Date: None set
  25                     Defendant.
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  28
       SMRH:4844-9569-0443.1                         -1-               Case No. 2:20-cv-06244-DMG-KS
                               SECOND STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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   1                                           STIPULATION

   2            Pursuant to Local Rule 7.1, Plaintiffs Steven Vance and Tim Janecyk
   3 (collectively, “Plaintiffs”), on the one hand, and Defendant FaceFirst, Inc.
   4 (“Defendant”), on the other hand, by and through their attorneys of record, stipulate
   5 and agree as follows:
   6            WHEREAS, on July 14, 2020, Plaintiffs initiated this action by filing a
   7 Complaint against Defendant. (Dkt. 1);
   8            WHEREAS, Defendant was served with the Summons and Complaint on July
   9 27, 2020 (Dkt. 30);
  10            WHEREAS, Defendant’s response to the Complaint was originally due on
  11 August 17, 2020, pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i) (Dkt. 30);
  12            WHEREAS, on August 26, 2020, counsel for Defendant entered their
  13 appearances in this action;
  14            WHEREAS, on August 26, 2020, the parties filed their first Stipulation to
  15 Extend Time to Respond to Initial Complaint and, pursuant to that stipulation, on
  16 August 28, 2020 the Court ordered that the deadline for Defendant FaceFirst, Inc. to
  17 respond to the Complaint is extended to September 23, 2020;
  18            WHEREAS, the parties are engaged in settlement discussions, and need
  19 additional time in order to define the parameters of a potential settlement; and
  20            WHEREAS, undersigned counsel have conferred, and Plaintiffs are amenable
  21 to an extension of time for Defendant to respond to the Complaint, to and including
  22 October 23, 2020.
  23                     THEREFORE, it is mutually agreed by and between the parties that the
  24 deadline for Defendant to respond to the Complaint in the above-captioned case
  25 shall be extended to the new deadline of October 23, 2020.
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       SMRH:4844-9569-0443.1                         -2-               Case No. 2:20-cv-06244-DMG-KS
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   1 Dated: September 16, 2020             SHEPPARD, MULLIN, RICHTER & HAMPTON
                                           LLP
   2
   3
                                           By                  /s/ Saul S. Rostamian
   4
                                                               P. CRAIG CARDON
   5                                                          SAUL S. ROSTAMIAN
   6                                                          Attorneys for Defendant
   7                                                            FACEFIRST, INC.

   8
   9                                         CERTIFICATION

  10            Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that all other
  11 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  12 content and have authorized the filing.
  13 Dated: September 16, 2020             SHEPPARD, MULLIN, RICHTER & HAMPTON
  14                                       LLP

  15
  16                                       By                  /s/ Saul S. Rostamian
  17                                                          SAUL S. ROSTAMIAN

  18                                                          Attorneys for Defendant
                                                                FACEFIRST, INC.
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   1 Dated: September 16, 2020             CARLSON LYNCH, LLP

   2
   3                                       By     /s/ Joe Kook Kim
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